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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

GUY WESSON BENJAMIN                                                          PLAINTIFF

       V.                          CASE NO. 3:25-cv-00033-JM

LUIS ZAMORA, ET AL                                                           DEFENDANTS


 DEFENDANTS’ NOTICE OF SERVICE OF RULE 26(A)(1) INITIAL DISCLOSURES


       COME NOW Defendants Luis Zamora and Landstar Inway, Inc., by and through their

counsel of record, and give notice of the April 30, 2025 service of their Rule 26(a)(1) Initial

Disclosures on counsel for Plaintiff Guy Wesson Benjamin.

                                              Respectfully submitted,

                                              s/ J. Lewis Wardlaw
                                              J. Lewis Wardlaw (Arkansas Bar No. 2004034)
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                                              Defendants Luis Zamora and Landstar Inway, Inc.

                                 CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that a copy of the foregoing has been served upon
counsel for the Plaintiff, via the Court’s ECF system, on this the 30th day of April, 2025.

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       Lee D. Curry
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                                              s/ J. Lewis Wardlaw
